       Case: 3:18-cv-00282-MPM-RP Doc #: 24 Filed: 02/26/20 1 of 2 PageID #: 71




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI

JEFFREY SINGLETARY,                           §
                                              §
               Plaintiff,                     §     Civil Action No. 3:18-cv-00282-MPM-RP
                                              §
               v.                             §
                                              §
APRIA HEALTHCARE,                             §
                                              §
               Defendant.                     §
                                              §
                                              §


                                  STIPULATION TO DISMISS

TO THE CLERK:

       Pursuant to Rule 41(a)(1)(A)(ii), counsel for all parties hereto stipulate to the dismissal of

this action without prejudice.


/s/ Ashley E. Cannady                             /s/ Amy L. B. Ginsburg
  Ashley E. Cannady, Esq.                           Amy L. B. Ginsburg, Esq.
  Balch & Bingham, LLP                              Kimmel & Silverman, P.C.
  188 East Capitol Street                           30 East Butler Pike
  Jackson, MS 39201                                 Ambler, PA 19002
  Phone: 301-965-8180                               Phone: 215-540-8888
  Email: acannady@balch.com                         Fax: 215-540-8817
  Attorney for the Defendant                        Email: teamkimmel@creditlaw.com
                                                    Attorney for Plaintiff
 Date: February 26, 2020
                                                   Date: February 26, 2020



                                      BY THE COURT:



                                      _________________________
                                                              J.
      Case: 3:18-cv-00282-MPM-RP Doc #: 24 Filed: 02/26/20 2 of 2 PageID #: 72




                               CERTIFICATE OF SERVICE

              I, Amy L. Bennecoff Ginsburg, Esquire, do certify that I served a true and correct

copy of the Stipulation of Dismissal in the above-captioned matter, upon the following via

CM/ECF system:

Ashley E. Cannady, Esq.
Balch & Bingham, LLP
188 East Capitol Street
Jackson, MS 39201
Phone: 301-965-8180
Email: acannady@balch.com
Attorney for the Defendant


Dated: February 26, 2020                   By: /s/ Amy L. B. Ginsburg
                                           Amy L. B. Ginsburg, Esq.
                                           Kimmel & Silverman, P.C.
                                           30 E. Butler Avenue
                                           Ambler, PA 19002
                                           Tel: 215-540-8888
                                           Fax: 215-540-8817
                                           Email: teamkimmel@creditlaw.com
                                           Attorney for Plaintiff
